Case 1:14-ml-02570-RLY-TAB Document 22418-1 Filed 07/25/22 Page 1 of 1 PageID #:
                                  132569



                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION



  IN RE: COOK MEDICAL, INC., IVC FILTERS                               Case No. 1:14-ml-RLY-TAB
  MARKETING, SALES PRACTICES AND                                                    MDL No. 2570
  PRODUCTS LIABILITY LITATGATION


  This Document Relates to:
  Victor Friedman, 1:17-cv-4572-TWP-MJD




      ORDER ON JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        The Court has considered the Joint Stipulation of Dismissal with Prejudice of the above

 Plaintiff and Defendants Cook Incorporated, Cook Medical LLC, and William Cook Europe ApS.

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the stipulation of

 dismissal with prejudice of the above Plaintiff is GRANTED. The claims of the Plaintiff are

 dismissed in their entirety with prejudice, and the parties are to bear their own costs.

        Dated this           day of                 , 2022.


                                                                                  Hon Tim A. Baker
                                                                         United States District Judge
